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               Exhibit
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Office of Special Health Initiatives
5600 Fishers Lane
Rockville, MD 20857



    March 21, 2025

    Mithila Urs
    President
    Sagebrush Health Services
    8379 West Sunset Road Suite 210
    Las Vegas, NV 89113

    Dear Mithila Urs:

    The Health Resources and Services Administration (HRSA) has reviewed the supporting
    documentation provided by Sagebrush with its February 21, 2025, letter as well as
    documentation provided to HRSA by Connecticut Department of Public Health (CDPH) on
    October 17, 2024, and February 11, 2025, and by Nevada Department of Health and Human
    Services (NHHS) on February 4, 2025, and February 27, 2025.

    Sagebrush’s February 21, 2025, letter provides no new information that would justify reversal of
    HRSA’s previous decision to remove the identified sites. Therefore, HRSA is denying
    Sagebrush’s request to retroactively reinstate these sites into the 340B Program.

    Moreover, the documentation provided to HRSA demonstrates that two Sagebrush sites are no
    longer eligible to participate in the 340B Program as STD covered entities under section
    340B(a)(4)(K) of the Public Health Service Act (PHSA). For the sites in question, Sagebrush
    failed to demonstrate receipt of section 318 funding or support as detailed below.

    •    STD06489 did not receive section 318 funding or support from CDPH since August 1, 2024.
         CDPH states that its current cooperative agreement with the Centers for Disease Control and
         Prevention (CDC) is for grant number NU62PS924812 and the period August 1, 2024,
         through December 31, 2029. However, the 50 HIV Test Kits and Controls CDPH shipped to
         STD06489 after August 1, 2024, were purchased with state funds, not section 318 funding.

    •    STD891132 did not receive section 318 funding from NHHS as of March 1, 2025. The NHHS
         Notice of Award (NoA) for the Strengthening STD Prevention and Control for Health
         Departments (STD PCHD) grant (NH25PS005179) provided to HRSA by NHHS is for the
         period January 1, 2023, through February 28, 2025. In addition, NHHS has confirmed to HRSA
         that it has not yet received an STD PCHD NoA from CDC for the period starting
         March 1, 2025.




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                                                                                         Mithila Urs
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Due to Sagebrush’s failure to comply with section 340B(a)(4)(K) of the PHSA for these sites,
and to the extent that the sites have not yet been terminated, Sagebrush must terminate the two
ineligible sites currently registered in OPAIS (STD06489 and STD891132) by March 28, 2025.
To initiate the termination of the two sites, please email Joshua Volpe at JVolpe@hrsa.gov. If
Sagebrush does not initiate the termination of the two sites by March 28, 2025, HRSA will
terminate the sites in OPAIS on March 31, 2025.

It is Sagebrush’s responsibility to determine the full scope of non-compliance and repay affected
manufacturers accordingly for the period of time that the Sagebrush sites did not receive section
318 funding or support. In order to alert manufacturers to the extent that violations have
occurred, Sagebrush is required to contact and work with affected manufacturers regarding
repayment. HRSA does not endorse any specific methodology to determine the scope of 340B
non-compliance, the amounts owed to the affected manufacturers, or a covered entity’s plan to
repay the affected manufacturers or to remedy past 340B Program non-compliance. HRSA
defers to affected manufacturers for acceptance of a covered entity’s plan to determine the scope
of 340B non-compliance and appropriate remedy.

Sagebrush can request to re-register the sites listed in this letter, as well as the additional sites
listed in Sagebrush’s February 21, 2025, letter, for the 340B Program at the next quarterly
registration period only after Sagebrush is able to demonstrate that it determined the full scope of
noncompliance, repaid affected manufacturers, can demonstrate that it meets the covered entity
eligibility requirements set forth in section 340B(a)(4) of the PHSA, and meets all other
applicable 340B Program requirements.

Within 60 days of the date of this letter, please provide a statement that Sagebrush has
determined the full scope of non-compliance and worked with affected manufacturers regarding
repayment.

We appreciate your prompt attention to this matter.


                                               Sincerely,



                                               Chantelle V. Britton, M.P.A., M.S.
                                               Director, Office of Pharmacy Affairs




                              Health Resources and Services Administration
                                             www.hrsa.gov
